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                                   December 10, 2019                             ·

       1                    UNITED STATES DISTRICT COURT

       2                    SOUTHERN DISTRICT OF FLORIDA

       3                      CASE NO. 9:18-cv-80176-BB/BR

       4
            IRA KLEIMAN, as the personal representative
       5    of the Estate of David Kleiman, and
            W&K Info Defense Research, LLC,
       6
                         Plaintiffs,
       7
            -vs-
       8
            CRAIG WRIGHT,
       9
                         Defendant.
      10

      11    * * * * * * * * * * * * * * * * * * *

      12    VIDEOTAPED DEPOSITION OF CARTER CONRAD

      13    DATE TAKEN: December 10, 2019

      14    TIME: 10:09 a.m. - 11:00 a.m.

      15    PLACE: 250 North Australian Avenue

      16    West Palm Beach, Florida 33401

      17
            TAKEN BEFORE: RICK E. LEVY, RPR, FPR
      18                  AND NOTARY PUBLIC

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       1    APPEARANCES:

       2    On behalf of the Plaintiff:

       3          KYLE ROCHE, ESQUIRE
                  VEL FREEDMAN, ESQUIRE (via phone)
       4          ROCHE FREEDMAN, P.A.
                  200 S. Biscayne Boulevard
       5          Suite 5500
                  Miami, Florida 33131
       6

       7

       8    On behalf of the Defendant:

       9          BRYAN PASCHAL, ESQUIRE
                  ZALMAN KASS, ESQUIRE
      10          RIVERO MESTRE, P.A.
                  2525 Ponce de Leon Boulevard
      11          Suite 1000
                  Coral Gables, Florida 33134
      12

      13    On behalf of the Witness:

      14          BRUCE ZIMET, ESQUIRE
                  LAW OFFICE OF BRUCE ZIMET, P.A.
      15          250 North Australian Avenue
                  Suite 1400
      16          West Palm Beach, Florida 33401

      17    Also Present: Robert Doyle, The Videographer
                          Ira Kleiman, via phone
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       1                                  - - -
                                         I N D E X
       2                                  - - -

       3    WITNESS:       DIRECT          CROSS     REDIRECT      RECROSS
            CARTER CONRAD
       4    BY MR. PASCHAL:   4                          53
            BY MR. ROCHE:                     32
       5

       6                                 - - -
                                     E X H I B I T S
       7                                 - - -

       8
            NUMBER                                         PAGE
       9    DEFENDANT'S EX. 1                               22
            DEFENDANT'S EX. 2                               25
      10    DEFENDANT'S EX. 3                               27

      11

      12    Exhibit 3 was retained by counsel for the Plaintiff.

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       1                                   - - -
       2                THE VIDEOGRAPHER:       Good morning everyone.
       3          We're now on video record.         Today's date
       4          December 10th 2019.       The time now is 10:09 a.m.
       5          Counsel will you announce your appearances and the
       6          witness will be sworn in.
       7                MR. PASCHAL:      Bryan Paschal for Dr. Craig
       8          Wright.
       9                MR. KASS:     Zalman Kass for Dr. Craig Wright.
      10                MR. ROCHE:     Kyle Roche for plaintiffs.
      11                MR. ZIMET:     Bruce Zimet for the witness.
      12                THE WITNESS:      Carter Conrad.     I do.
      13                                   - - -
      14    Thereupon,
      15                           (CARTER CONRAD)
      16                             having been first duly sworn or
      17    affirmed, was examined and testified as follows:
      18                           DIRECT EXAMINATION
      19    BY MR. PASCHAL:
      20          Q.    Good morning.      Could you please state your
      21    full name for the record?
      22          A.    Carter Vance Conrad, Jr.
      23          Q.    Carter, have you ever been deposed before?
      24          A.    Yes, sir.
      25          Q.    How many times have you been deposed?


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       1          A.     Dozens.
       2          Q.     Was that as an expert witness?
       3          A.     Correct.
       4          Q.     So you know how a deposition works?
       5          A.     Yes, sir.
       6          Q.     So not going to go over like the background
       7    the basics but is there any reason why you wouldn't be
       8    able to give full complete testimony today?
       9          A.     No, sir.
      10          Q.     Are you on any medication that could affect
      11    your testimony?
      12          A.     No.
      13          Q.     And you know if you need to take a break at
      14    any moment just let me know.          What's your current
      15    profession?
      16          A.     I am a member of Computer Forensics, LLC, a
      17    Florida limited liability company.
      18          Q.     What is Computer Forensics, LLC?
      19          A.     We provide consulting services, litigation
      20    support in matters involving electronically stored
      21    information.
      22          Q.     How long have you been with Computer
      23    Forensics, LLC?
      24          A.     2012 was founded.       I was one of the original
      25    members.


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       1          Q.     Who are the other members of Computer
       2    Forensics, LLC?
       3          A.     Originally in January or February of 2012 it
       4    was David Kleiman and then about six months later
       5    Patrick Paige was also joined as a member.
       6          Q.     Those are all the members for Computer
       7    Forensics?
       8          A.     Yes, sir, that's correct.
       9          Q.     Some background.     What school did you attend?
      10          A.     School, college?
      11          Q.     Yes.    Just high school.
      12          A.     Here locally Martin County High School.          I
      13    attended Western Maryland College and also Colombia
      14    Southern University.
      15          Q.     Do you have any certifications?
      16          A.     I do.
      17          Q.     Okay.
      18          A.     Related to computer forensics, Security
      19    University I'm qualified.       Forensic Expert Security
      20    University qualified, security analyst.           Comp Tia.    I
      21    have a Security Plus and A Plus Certification.            I have a
      22    certification from Black Bag Technologies related to
      23    forensics.    I have a certification from X1 social
      24    discovery for their product.        I don't remember all the
      25    acronyms but those are basically it.


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       1          Q.     When I asked you about being an expert witness
       2    were you testifying about computer electronics or
       3    forensics?
       4          A.     Yes, sir.
       5          Q.     You said you've testified dozens of times on
       6    that topic?
       7          A.     I have.    As a matter of fact I just prepared a
       8    declaration yesterday and I believe the number since
       9    2008 is 68 times I've provided sworn testimony.
      10          Q.     Have you ever worked on a case involving
      11    Bitcoin?
      12          A.     No, sir.
      13          Q.     Do you know -- did you know David Kleiman?
      14          A.     I did.    He was a business partner of mine.
      15          Q.     Aside from the business when did you first
      16    meet Dave Kleiman?
      17          A.     It was probably in the 2008/2009 timeframe.
      18    We met at an FBI -- FBI Infragard meeting down in Miami
      19    Florida International University I believe it was.             We
      20    met in person for the first time.         We had had several
      21    phone conversations prior to that.
      22          Q.     Can you explain what is the FBI Infragard?
      23          A.     Public sector private sector co-venturer
      24    that's sponsored by the FBI.        They aggregate individuals
      25    from certain vertical markets particularly technology,


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       1    other infrastructure, utilities, telecom, people from
       2    the private sector.      They're vetted, background checked
       3    and then they're allowed to join the FBI Infragard
       4    Association.
       5                I guess the thought is that during a time when
       6    maybe the public sector would need to reach out to the
       7    private sector there would already be individuals who
       8    are vetted and part of that organization.
       9          Q.    So it was -- was it a difficult process to
      10    become a member?
      11          A.    As far as you had to pass a background check
      12    clearly and then you had to be involved in whatever the
      13    vertical market that they were interested in having
      14    individuals be part of.       So difficult I don't know how
      15    to answer that but it was a process to be approved.
      16          Q.    Do you remember when you became a member of
      17    the Infragard?
      18          A.    Again 2008 I think but I'm not certain.
      19          Q.    Do you know when David became a member of --
      20          A.    I believe it was prior to my approval but I
      21    don't have any specific date.
      22          Q.    Did you consider David Kleiman a friend?
      23          A.    Yes.
      24          Q.    How often would you speak to David?
      25          A.    Daily.    If not every other day.       Sometimes


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       1    multiple times a day.
       2          Q.    What would you talk about with David?
       3          A.    A variety of subjects.       The central aspect of
       4    our conversations or initially was some of the
       5    certifications that we held in common.          I reached out to
       6    him as, you know, someone in the local area that was in
       7    the same business, introduced myself, offered to be of
       8    any assistance I could to him.
       9                Dave had quite the reputation as an expert
      10    internationally and just thought it would be not only
      11    good for my practice, my business practice, but just in
      12    general to get to know someone who was basically a
      13    superstar in the computer forensics field.
      14          Q.    When you were partners with David at Computer
      15    Forensics approximately how many cases did you work on
      16    with him, can you recall?
      17          A.    I don't know.     I simply can't put a number.
      18          Q.    I want to know background.        Whose idea was it
      19    to create Computer Forensics?
      20          A.    It was a joint venture.       Dave had fallen ill
      21    back in 2010.     We had separate practices.        When I met
      22    him at the FBI Infragard meeting it was the first time I
      23    realized he was in a chair.        Prior to that we had had
      24    conversations, never came up.        I had no reason to ask.
      25    I met him there.      We had a lot of commonalities.        Had a


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       1    friendship that started at that point.
       2                 Prior to his falling ill we would work
       3    together, particularly on engagements where if we were
       4    in an office setting there would be computers that
       5    needed to be imaged at a desk location.          It would be
       6    very difficult for him to reach under the desk, unplug
       7    the computers to get at the hard drives.
       8                 So I would work with him and assist him, be
       9    his legs to some degree so that he could, you know,
      10    accomplish the engagement.       So I don't remember your
      11    initial question, I'm sorry.       Got a little --
      12          Q.     Computer Forensics.
      13          A.     During the time when he fell ill was in the
      14    hospital his phone was continuing to ring with new
      15    opportunities.     So we worked out an arrangement where I
      16    would help his clients to be serviced.         If it was
      17    something simple I would just simply perform the task,
      18    bill the client and if it was more involved then I would
      19    perform part of the task.
      20                 I would have him to do whatever he could do at
      21    that time.    Sometimes his health just simply prevented
      22    him from engaging but in order to have some income he
      23    was amenable with all of that.        But it got to a point in
      24    2011 late in 2011, where we discussed why won't we just
      25    join forces officially under the moniker of Computer


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       1    Forensics, LLC and that way we could have some revenue
       2    sharing in an official way.       I recall the day that we
       3    researched -- I researched the domain
       4    ComputerForensicsLLC.com was available and he was very
       5    excited and we immediately that day registered the
       6    domain so that we could be together.
       7          Q.     Let me ask when Dave was working with Computer
       8    Forensics, LLC did he bill by the hour for work that he
       9    was doing?
      10          A.     Yes, sir, that was the model.       Basically our
      11    corporate model is each member has their own book of
      12    business unless there is opportunities where there was a
      13    chance to for two people to participate or in one
      14    particular case I remember all three of us participated
      15    in the engagement but each one would be responsible for
      16    their own billing and it was by the hour.
      17          Q.     Do you know how much David -- what was his
      18    hourly rate?
      19          A.     $325 an hour I believe.     It might have been
      20    $275 when we initially started but fairly soon after
      21    that went to $325.
      22          Q.     Do you remember your rate?
      23          A.     Same.
      24          Q.     Same, okay.   Did a lot of people reach out to
      25    David for business?


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       1            A.   His phone was quite busy.      It was again his
       2    reputation was that of, you know, very knowledgeable,
       3    professional practitioner and as a result he would get a
       4    lot of referrals or direct inquiries.
       5            Q.   Then in 2010 you said Dave was ill.        Do you
       6    know what he was ill from?
       7            A.   My understanding and I never directly talked
       8    to him about it but my understanding is he had
       9    contracted a bacteria MRSA and as a result the infection
      10    forced him to have treatment and be hospitalized.
      11           Q.    When was he hospitalized?
      12           A.    My recollection is 2010.
      13           Q.    Did he stay in the hospital consistently?
      14           A.    For the most part up until just a few weeks
      15    before his death.     There were times when he would get
      16    out.    I remember he had a trial and the doctors allowed
      17    him to leave the hospital with some assistance and
      18    medical personnel assistance to go.         I don't know if he
      19    testified at that trial or not.        That was a case that
      20    originated before Computer Forensics, LLC was formed.
      21    So I just -- I don't know that we have any records of
      22    that.
      23            Q.   What hospital was he?
      24           A.    The Veterans Administration Hospital here
      25    locally.     But more time was spent at the VA Hospital in


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       1    Miami.       They -- the VA Hospital in Miami had a spinal
       2    cord injury unit.         The one up here my understanding does
       3    not so that's for treatment purposes Miami was more -- a
       4    more practical place for him to receive treatment.
       5            Q.     Did you ever visit him while -- David while he
       6    was in the hospital?
       7            A.     Multiple times.
       8            Q.     Could you describe what the hospital looked
       9    like?
      10            A.     So the one in West Palm is a little bit newer.
      11    He was in a quarantined area at the one in West Palm
      12    because that's when he was first diagnosed with MRSA.
      13    So to enter there you would have to gown up and it was a
      14    contagious area.      The VA Hospital in Miami is much
      15    larger, much older building.        More -- I saw evidence of
      16    vast number of patients, more than in West Palm.
      17    Various veterans that were there, ages -- wide range of
      18    ages and disabilities.
      19            Q.     Do you know who Ira Kleiman is?
      20            A.     I understand David's step brother.
      21            Q.     Did you ever see Ira visit Dave at the
      22    hospital?
      23            A.     No, sir.
      24            Q.     Did Dave ever say that Ira visited him while
      25    he was in hospital?


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       1          A.     We had very few conversations about Ira over
       2    the course of my entire time I've known Dave.
       3          Q.     What were the subjects of those conversations?
       4          A.     They were estranged.     I mean that was my
       5    understanding.      I can't give you specific time.
       6          Q.     So they didn't have a good relationship?
       7                 MR. ROCHE:   Objection to form.
       8                 THE WITNESS:    That's my understanding.
       9    BY MR. PASCHAL:
      10          Q.     Now, you went in the entire time you knew
      11    David did he ever mention anything about Bitcoin to you?
      12          A.     No, sir.
      13          Q.     In the entire time that you knew David did he
      14    ever mention Craig Wright to you?
      15          A.     Yes.
      16          Q.     What would he say about Craig Wright?
      17          A.     Craig shared a certification that Dave and I
      18    both had at the time.       The International Society of
      19    Forensic Computer Examiners and Craig was active posting
      20    on the list.    I can't tell you how active.        I just would
      21    recognize his name from the post.
      22                 I had understood through Dave that they worked
      23    together on a project.       Dave classified it as a white
      24    paper.     Had to do with the analysis of data from a hard
      25    drive if that data had been overwritten.          Basically the


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       1    summation of that paper, I haven't read it, but the
       2    summation as Dave represented it to me is if data on a
       3    hard drive on a magnetic storage device is overwritten
       4    just one time with other data in the sector or in the
       5    cluster that it's in that it becomes very difficult to
       6    determine what that underlying data was.
       7                 I guess it was in correlation with a
       8    Department of Defense requirement that data be
       9    overwritten seven times in a variety of different
      10    manners but they had basically established that for most
      11    practical uses if the data is overwritten one time
      12    effectively you've destroyed the data and that was a
      13    project according to Dave that they had worked on
      14    together.
      15            Q.   I just want to ask you about the overwriting
      16    data.    So Dave and Craig's position was that if you
      17    overwrite data once it's unrecoverable?
      18                 MR. ROCHE:   Objection.
      19                 MR. ZIMET:   You can answer.
      20                 THE WITNESS:   That's my understanding.       Again
      21            I haven't read the paper.
      22    BY MR. PASCHAL:
      23            Q.   But you're familiar with this sort of stuff
      24    because -- is sit like part of what you work on?
      25                 MR. ROCHE:   Objection.


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       1                THE WITNESS:     Yes.
       2    BY MR. PASCHAL:
       3          Q.    If somebody was to overwrite data for let's
       4    say several years would that make it difficult to
       5    recover data?
       6                MR. ROCHE:     Objection, calls for expert
       7          testimony.
       8                THE WITNESS:     As it relates to the white paper
       9          and the inference that I understood from it
      10          overwriting it one time is effective -- effectively
      11          overwriting the data but again the Department of
      12          Defense requirement for data destruction is I think
      13          seven times in various patterns.
      14    BY MR. PASCHAL:
      15          Q.    So when you said white paper you mean
      16    overwriting data white paper?
      17          A.    Yes.   Again I don't know the name of it.
      18    Research paper commonly referred to as a white paper.
      19          Q.    Did Dave ever say that he had any other
      20    business ventures with Craig Wright?
      21          A.    No.    No.
      22          Q.    Did he say that he was ever working on any
      23    projects with Craig Wright other than the white paper?
      24          A.    I don't remember.       I don't recall any, no.
      25          Q.    Did Dave ever speak -- let me say in the


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       1    reverse.    Did Dave ever speak highly of Craig Wright?
       2                MR. ROCHE:     Objection to form.
       3                THE WITNESS:     I would say -- to the extent
       4          that they worked together on a project Dave had
       5          respect for him but --
       6                MR. ZIMET:     The question is did he ever speak
       7          highly of him so if you know you do and if you
       8          don't know you don't.
       9                THE WITNESS:     I can't categorize.      There was
      10          nothing disparaging.
      11    BY MR. PASCHAL:
      12          Q.    Up until the date that David died did he ever
      13    say anything bad about Craig Wright?
      14          A.    I don't recall any disparaging remarks.
      15          Q.    He certainly never said Craig stole anything
      16    from him?
      17                MR. ROCHE:     Objection.
      18                THE WITNESS:     I don't recall hearing any of
      19          that, no.
      20    BY MR. PASCHAL:
      21          Q.    And Dave never told you that he had hundreds
      22    of millions of dollars worth of Bitcoin?
      23                MR. ROCHE:     Objection.
      24                THE WITNESS:     No.
      25


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       1    BY MR. PASCHAL:
       2            Q.    Are you familiar with Dave's -- in any way of
       3    Dave's financial situation?
       4            A.    I was.
       5            Q.    What was his financial situation?
       6            A.    Toward the end of his life it was dire.
       7            Q.    You know his house was being foreclosed?
       8            A.    Yes, I would go to his house to pick up mail
       9    for him and there was notices from the mortgage company.
      10            Q.    Were there other notices regarding debt and
      11    debt collection?
      12            A.    Credit card.   Other -- that's just my
      13    recollection.     It was not a good financial situation he
      14    was in.
      15            Q.    When you visited his house did you have a key
      16    to access his house?
      17            A.    I did.    He would have to call me in at the
      18    gate.    I wasn't on a permanent entry list but he would
      19    call me in.     I would go pick up the mail.       Check on the
      20    status of the house.
      21            Q.    Did you ever see computers in his home?
      22            A.    I'm not certain.   I don't know.     He had an
      23    office.      There was computer equipment in there.       Were
      24    they actually computers I just don't recall.
      25            Q.    Do you recall ever seeing any of that computer


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       1    equipment being turned on?
       2          A.    Again there were routers and other equipment.
       3    When right before a few weeks before he died when he
       4    left the hospital I know he had brought his equipment
       5    home and yes, I saw it functioning then but if you're
       6    asking the visits that I made when he was in the
       7    hospital I just don't recall.
       8          Q.    What other financial troubles did you know
       9    that Dave had?
      10          A.    His cell phone which was kind of his
      11    connection to everything was in danger of being turned
      12    off several times for non-payment.         So we would make
      13    sure that he had funds available to do that.
      14          Q.    When you say that does that mean you paid for
      15    his cell phone bill?
      16          A.    Patrick and I provided money so we can take
      17    care of him.
      18          Q.    He never asked for money; right?
      19          A.    He never asked for money.
      20          Q.    You just knew you had to take care of it?
      21                MR. ROCHE:    Objection to form.
      22                THE WITNESS:    He was a personal friend.       I was
      23          aware to whatever degree of his circumstances I
      24          wanted to help him.
      25


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       1    BY MR. PASCHAL:
       2            Q.     His phone was in danger of being cut off when
       3    he was in the hospital?
       4            A.     Yes.
       5            Q.     So that would have been as you said his
       6    connection to everybody?
       7            A.     Correct.
       8                   MR. ROCHE:    Objection.
       9    BY MR. PASCHAL:
      10            Q.     Did Dave ever tell you that Ira provided him
      11    with any money?
      12          A.       I believe my testimony previously was we had
      13    very limited discussions about Ira.
      14          Q.       So that would be a no?
      15          A.       I don't recall any, no.
      16          Q.       When Dave checked out of the hospital did he
      17    contact you?
      18          A.       We were in fairly constant contact with each
      19    other.       It was surprising that he had left the hospital
      20    but he expressed he had just grown tired of everything
      21    and he didn't really even check himself out.            He just
      22    left.    He had access to his van there and he took his
      23    stuff and wheeled himself out the door and --
      24          Q.       So doctors didn't clear him?
      25          A.       That's my understanding, no, he was not


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       1    cleared.
       2          Q.    Was Dave happy in the VA?
       3                MR. ROCHE:    Objection.
       4                THE WITNESS:    I wouldn't classify -- I don't
       5          know how to answer that question happy.         He was a
       6          happy guy generally.      He wasn't happy about his
       7          circumstances.
       8    BY MR. PASCHAL:
       9          Q.    When Dave had to check himself out of the
      10    hospital what did he talk about with you in those
      11    conversations?
      12          A.    I recall going to his house on an evening.           I
      13    can't tell what that date was and there was discussions
      14    about the future and how he was ready to move on, grow
      15    the business and, you know, we had had basically, you
      16    know, a setback with him being in the hospital and that
      17    he was excited to move forward and fulfill the thoughts
      18    that we had had with having, you know, to grow the
      19    business and be profitable.
      20          Q.    Did he tell you anything about him leaving the
      21    hospital?
      22          A.    Yes.
      23          Q.    What did he say?
      24          A.    He used an expletive to basically say he was
      25    done being there.


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       1            Q.   Were you concerned at that time?
       2            A.   Dave was a very independent guy and I had no
       3    reason to think that he wasn't going to care for himself
       4    or that he would be any danger by being at home.           I
       5    think he felt like that there was some bureaucracy at
       6    the VA that was preventing him from leaving and he
       7    wanted to be rid of that.
       8            Q.   When you say bureaucracy could you explain
       9    that?
      10            A.   I think he felt like the doctors were being
      11    too cautious maybe.      That's my own -- that's my own
      12    reputation.    I didn't hear those words from him.         He was
      13    certainly not wanting to be there.         He felt restricted
      14    him being there.      I'm just going to turn my phone off.
      15                 MR. PASCHAL:   I have this marked as Exhibit 1.
      16                 (Defendant's Exhibit No. 1 was
      17                 marked for identification.)
      18                 THE WITNESS:   Yes, sir.
      19    BY MR. PASCHAL:
      20            Q.   Do you recognize what I just handed you?
      21            A.   I do.
      22            Q.   What is it?
      23            A.   It's an e-mail that I sent the date says
      24    April 29th to a group of people with the subject line
      25    Dave Kleiman.


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       1          Q.    And you're announcing to -- in this e-mail
       2    you're announcing to Dave's close friends that he had
       3    passed away; right?
       4          A.    Friends and business associates, yes.
       5          Q.    And Craig Wright is on this e-mail?
       6          A.    Yes, sir, that's right.
       7          Q.    Was it your understanding that Dave and Craig
       8    were friends?
       9          A.    Again business associates.        So I was going to
      10    make a public announcement via e-mail on the IFCE Web
      11    site, the CCE Web site and I didn't want people seeing
      12    the information for the first time so I was sending out
      13    some advance notification to those that I knew Dave was
      14    associated with.
      15          Q.    How did you find out that Dave had passed
      16    away?
      17          A.    Patrick told me the Friday before this.           My
      18    recollection was this was a Monday and I was going to
      19    make an announcement but that preceding Friday Patrick
      20    hadn't heard from Dave and was on his way to his house
      21    to do a welfare check and by the time he got there I
      22    guess maybe law enforcement, I don't know, I wasn't
      23    there but I recall Patrick calling me and saying that
      24    Dave had passed away.
      25          Q.    Did Ira Kleiman reach out to you after Dave


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       1    passed away?
       2           A.   I had some e-mail correspondence with Ira
       3    subsequent to Dave's death.         I don't recall the nature
       4    of those but I know there was some correspondence.
       5           Q.   Did he talk about Bitcoin with you?
       6           A.   I don't recall again the content.         I believe
       7    and obviously this is second hand and not testimony
       8    but -- you can ask Patrick.
       9           Q.   Did you ever offer Ira any help to access
      10    Dave's drives and cell phones?
      11           A.   I believe I did.
      12           Q.   Did Ira ever take you up on that offer?
      13           A.   My only recollection is he grew impatient and
      14    then filed a lawsuit.
      15           Q.   When you say filed a lawsuit was that against
      16    you?
      17           A.   Against Computer Forensics, against Carter
      18    Conrad, against Patrick Paige as an individual.
      19           Q.   In that lawsuit -- he alleged in that lawsuit
      20    injunction for return of Dave's Bitcoins?
      21           A.   I don't recall.
      22           Q.   The complaint against Computer Forensics --
      23                MR. ZIMET:     Sorry?
      24                THE WITNESS:     I believe it was individually.
      25                MR. ZIMET:     All three.    Corporate and the two


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       1          individuals.
       2    BY MR. PASCHAL:
       3          Q.    What happened to that -- in that lawsuit?
       4          A.    Dismissed or -- yes, I believe it was
       5    dismissed.     It's no longer active as far as my
       6    understanding.
       7          Q.    Since he sued you -- let me ask you.          Did you
       8    ever have access to Dave Kleiman's alleged Bitcoin?
       9          A.    No.   No, sir.
      10          Q.    And Ira sued you?
      11          A.    We were the subject of a lawsuit, yes.
      12                MR. ZIMET:     Secondly, Ira didn't sue
      13          individually in his capacity as personal
      14          representative of the estate.         The document speaks
      15          for itself on the lawsuit.
      16                MR. PASCHAL:     This is Exhibit 2.
      17                (Defendant's Exhibit No. 2 was
      18                marked for identification.)
      19    BY MR. PASCHAL:
      20          Q.    Turn to the second page of Exhibit 2.          Is
      21    there anything on this page that you recognize?
      22          A.    Yes, sir, my handwriting.
      23          Q.    Where is your handwriting on this?
      24          A.    In the bolded block received 10/10/13.
      25          Q.    Do you ever remember receiving this document?


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       1            A.    I believe it was -- I remember receiving it,
       2    yes.
       3            Q.    And the address here
       4                 .   Are you familiar with that address?
       5            A.    I am.
       6            Q.    What is that address?
       7           A.     It is a mail location, a Drop Box that Dave
       8    would use for his business and I guess personal items
       9    also.
      10           Q.     Do you understand this to be a court document
      11    from the Supreme Court of New South Wales?
      12                  MR. ROCHE:   Objection to form.
      13                  THE WITNESS:   Yes, it looked like some sort of
      14            legal proceeding that was being instituted so I
      15            felt like it was important to document exactly when
      16            I received it so that I memorialized it with the
      17            Sharpie pen.
      18    BY MR. PASCHAL:
      19            Q.    Do you recall any conversations where you told
      20    Ira about this document?
      21           A.     No.
      22                  MR. PASCHAL:   Can I have one second, I think
      23            we'll be done?
      24                  MR. ZIMET:   Sure.
      25                  MR. PASCHAL:   Go off the record.
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       1                (Discussion held off the record.)
       2                THE VIDEOGRAPHER:     Back on the record.
       3    BY MR. PASCHAL:
       4          Q.    Sir, do you recognize this document?
       5          A.    I believe this is the lawsuit that we were
       6    referring to previously.       Exhibit 3.
       7                (Defendant's Exhibit No. 3 was
       8                marked for identification.)
       9    BY MR. PASCHAL:
      10          Q.    Can you turn to paragraph 32?
      11          A.    Yes, sir.
      12          Q.    You see in the last sentence "Ira individually
      13    and as personal representative of the Estate of David
      14    Kleiman alleges further upon information and belief
      15    David Kleiman created and maintained Bitcoin for his
      16    personal property during his time he was a member of
      17    Computer Forensics."
      18          A.    Okay.
      19          Q.    Did Ira have any basis to make this
      20    allegation?
      21                MR. ROCHE:    Objection.
      22                THE WITNESS:    I wasn't aware of any efforts
      23          regarding Dave and Bitcoin.       I have no
      24          understanding why this assertion was made.
      25


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       1    BY MR. PASCHAL:
       2          Q.    Then paragraph 35 the last sentence "Ira as a
       3    representative of the estate alleged Computer Forensics
       4    should be enjoined from monetizing, transferring,
       5    otherwise converting such Bitcoin to its use.           At least
       6    it principals or third parties."        You see that?
       7          A.    I do.
       8          Q.    And you never had any Bitcoin, did you?
       9                MR. ROCHE:    Objection.
      10    BY MR. PASCHAL:
      11          Q.    Of Dave's Bitcoin?
      12          A.    I have never owned Bitcoin.       I didn't have
      13    Dave's Bitcoin.     No.
      14          Q.    Just about Dave Kleiman.       Were you aware of
      15    any girlfriends or wives that he had?
      16          A.    Was I aware of any?
      17          Q.    Girlfriends or wives that he had.
      18          A.    I know or it was represented to me through
      19    Dave that there were a couple of girlfriends.           I know he
      20    was married at one time.       I have no knowledge about that
      21    relationship.
      22          Q.    Are you aware that David had asked you what --
      23    sorry, do you know how his marriage ended?
      24          A.    In divorce I believe.
      25          Q.    Were there any circumstances where that was --


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       1    where Dave reported that in the media?
       2          A.     I'm not aware of any.
       3          Q.     Do you know the name of his wife?
       4          A.     I do not.
       5          Q.     Do you know the name of his girlfriends?
       6          A.     Right toward the end of his life there was a
       7    young lady I believe her name is Lineda.          I would see --
       8    I know that they would be together, have phone
       9    conversations.       Dave would indicate that.
      10          Q.     Did Dave ever have a girlfriend that lived
      11    with him?
      12          A.     Not to my knowledge.
      13          Q.     Just based on what you know of Dave would you
      14    consider him somebody as a saver, somebody that saved
      15    his money?
      16                 MR. ROCHE:    Objection.
      17                 THE WITNESS:    I don't know how to answer that
      18          question.      He was very generous when he had money.
      19                 MR. PASCHAL:    I think that's it for us.
      20    BY MR. PASCHAL:
      21          Q.     Since this lawsuit was filed have you ever
      22    spoken to Ira Kleiman?
      23          A.     No.
      24          Q.     Okay.
      25          A.     There was a meeting I believe Ira was in


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       1    attendance here at this office but I haven't had any
       2    direct contact with him.
       3            Q.   Was that meeting about this case or about the
       4    separate case?
       5            A.   I don't recall.    I'm sorry.
       6            Q.   Do you know when that meeting happened?
       7            A.   It's been months ago.     I don't know the exact
       8    date.
       9            Q.   Do you know what was discussed?
      10            A.   I mean in general it was about Dave but again
      11    I'm not sure if it was in reference -- I believe it to
      12    be in reference to the initial lawsuit but I'm just not
      13    certain.
      14            Q.   When you say lawsuit do you mean this lawsuit
      15    or --
      16            A.   The Exhibit 3 that you provided to me.        I
      17    believe it was in reference to that.
      18            Q.   Do you know who was in attendance at that
      19    meeting?
      20            A.   Patrick Paige and counsel -- well, Mr. Zimet
      21    and I believe Mr. Velvel was in attendance I believe.
      22            Q.   Is that the first time that counsel for -- has
      23    counsel for Ira Kleiman ever contacted you other than
      24    the meeting?    Was that the first time?
      25            A.   I believe so.


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       1                MR. ZIMET:    Just to be clear he did not
       2          contact the witness.      Any communication would have
       3          been attorney to attorney.       There was no reaching
       4          out to Mr. Conrad directly.
       5    BY MR. PASCHAL:
       6          Q.    To be clear you were not at that meeting;
       7    right?
       8          A.    The meeting here that I just described, yes, I
       9    was in attendance.
      10          Q.    You were in attendance?
      11          A.    Yes, sir.
      12          Q.    Was this case discussed at all?
      13          A.    I don't have any recollection.        Again I don't
      14    want to provide a guess.       My recollection though is that
      15    it had to do with the lawsuit described in Exhibit 3.
      16    That's my best understanding.
      17          Q.    Do you have any documents from that meeting?
      18          A.    No, sir.
      19                MR. PASCHAL:    I think I am done.
      20                MR. ROCHE:    Can we take like a two or three
      21          minute break and then I'll finish up?
      22                MR. ZIMET:    Of course.
      23                THE VIDEOGRAPHER:     We're off record.
      24                (Thereupon, a brief recess was taken.)
      25                THE VIDEOGRAPHER:     Back on the record.


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       1                         CROSS (CARTER CONRAD)
       2    BY MR. ROCHE:
       3          Q.    Good morning Carter, just a few short
       4    questions.     Prior to today did you have any
       5    communications with counsel for defendant?
       6          A.    There was a meeting -- there was a meeting
       7    here at this office.       I don't recall the date.
       8          Q.    Was it in 2019?
       9          A.    Likely but again I'm not certain of the date.
      10          Q.    Do you recall who was at the meeting?
      11          A.    Mr. Zimet and Patrick Paige.        Counsel
      12    represented here was there.         There may have been one
      13    other person.     I just don't recall.
      14          Q.    Both Bryan and Zalman were here?
      15          A.    I don't think so (Indicating).
      16          Q.    Just Bryan?
      17                MR. ZIMET:     He is pointing to Bryan for the
      18          record.
      19                THE WITNESS:     Yes.
      20    BY MR. ROCHE:
      21          Q.    There may have been one other person but you
      22    can't recall right now?
      23          A.    I just can't recall.
      24          Q.    Do you recall what the nature of those
      25    conversations were?


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       1          A.    Prior to any deposition I believe there was
       2    just an informal meeting, not a formal deposition
       3    request and we were amenable to hold that meeting.
       4          Q.    What types of questions were asked at that
       5    meeting?
       6          A.    Some background.     Just very similar in nature
       7    to what was asked about Dave, my relationship, Patrick's
       8    relationship with Dave.
       9          Q.    So were many of the questions that were asked
      10    by counsel today asked at that meeting that occurred
      11    earlier?
      12          A.    It seems like there were some, yes.
      13          Q.    Do you have any written communications with
      14    counsel for defendants?
      15          A.    No, sir.
      16          Q.    We looked at -- if you can put exhibit I
      17    believe it was two.
      18                MR. ZIMET:    We have it.
      19    BY MR. ROCHE:
      20          Q.    Let's go to the second page of Exhibit 2 it's
      21    Bates ending 1909.
      22          A.    Yes.
      23          Q.    You see this is addressed to W&K Info Defense
      24    Research, LLC?
      25          A.    I do.


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       1          Q.    Prior to receiving this had you heard of the
       2    entity W&K Info Defense Research, LLC?
       3          A.    No.
       4                MR. ROCHE:    No further questions.
       5                MR. ZIMET:    He'll read.
       6                THE VIDEOGRAPHER:     We're off record.      It's
       7          10:59 a.m.
       8                MR. ZIMET:    He has the option.      He'll read the
       9          depo before it's finished.
      10                THE VIDEOGRAPHER:     11:00 a.m.     We're off
      11          record.
      12                MR. ZIMET:    Thank you gentlemen.      Patrick,
      13          ready to go?
      14                MR. PASCHAL:    I will order as soon as
      15          possible.
      16                MR. ROCHE:    I will take a copy.
      17                          (Witness excused.)
      18                      (Deposition was concluded.)
      19
      20
      21
      22
      23
      24
      25


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       1

       2                    CERTIFICATE OF REPORTER

       3                THE STATE OF FLORIDA

       4                COUNTY OF BROWARD

       5

       6         I, Rick Levy, Registered Professional Reporter
            and Notary Public in and for the State of Florida at
       7    large, do hereby certify that I was authorized to
            and did report said deposition in stenotype of
       8    CARTER CONRAD; and that the foregoing pages,
            numbered from 1 to 34, inclusive, are a true and
       9    correct transcription of my shorthand notes of said
            deposition.
      10
                 I further certify that said deposition was
      11    taken at the time and place hereinabove set forth
            and that the taking of said deposition was commenced
      12    and completed as hereinabove set out.

      13         I further certify that I am not attorney or
            counsel of any of the parties, nor am I a relative
      14    or employee of any attorney or counsel of party
            connected with the action, nor am I financially
      15    interested in the action.

      16         The foregoing certification of this transcript
            does not apply to any reproduction of the same by
      17    any means unless under the direct control and/or
            direction of the certifying reporter.
      18
                 IN WITNESS WHEREOF, I have hereunto set my hand
      19    this 10TH day of December, 2019.

      20
                   _____________________________________
      21
                     Rick Levy, RPR, FPR, Notary Public
      22             in and for the State of Florida
                     My Commission Expires: 12/8/2023
      23             My Commission No.: GG937684

      24

      25


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       1                                CERTIFICATE OF OATH

       2    THE STATE OF FLORIDA

       3    COUNTY OF PALM BEACH

       4

       5          I, Rick Levy, REGISTERED PROFESSIONAL REPORTER,

       6    Notary Public, State of Florida, certify that CARTER

       7    CONRAD personally appeared before me on the 10th day

       8    of December, 2019 and was duly sworn.

       9

      10                Signed this 10th day of December, 2019.

      11

      12

      13

      14
                             _________________________________
      15
                                   Rick Levy, RPR, FPR
      16                           Notary Public - State of Florida
                                   My Commission Expires: 12/8/2023
      17                           My Commission No.: GG937684

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       1                   E R R A T A      S H E E T

       2    IN RE:    IRA KLEIMAN VS CRAIG WRIGHT

       3    DEPOSITION OF:      CARTER CONRAD

       4    TAKEN: 12/10/2019

       5         DO NOT WRITE ON TRANSCRIPT - ENTER CHANGES HERE

       6    PAGE #    LINE #     CHANGE                    REASON

       7    _____________________________________________________

       8    _____________________________________________________

       9    _____________________________________________________

      10    _____________________________________________________

      11    _____________________________________________________

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      16    _____________________________________________________

      17    Please forward the original signed errata sheet to
            this office so that copies may be distributed to all
      18    parties.

      19    Under penalty of perjury, I declare that I have read
            my deposition and that it is true and correct
      20    subject to   any changes in form or substance
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      24    SIGNATURE OF
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       1    DATE:         December 10, 2019

       2    TO:   BRUCE ZIMET, ESQUIRE
                  LAW OFFICE OF BRUCE ZIMET, P.A.
       3          250 North Australian Avenue
                  Suite 1400
       4          West Palm Beach, Florida 33401

       5    IN RE:        Ira Kleiman vs Craig Wright

       6    Dear Mr. Zimet:

       7    Enclosed please find the original errata page with
            your copy of the transcript so CARTER CONRAD may
       8    read and sign their transcript. Please have him/her
            make whatever changes are necessary on the errata
       9    page and sign it. Then place the original errata
            page back into the original transcript. Please then
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      11    32803.

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      13    we will then process the transcript without a signed
            errata page. If your client wishes to waive their
      14    right to read and sign, please have him/her sign
            their name at the bottom of this letter and send it
      15    back to the office.

      16          Your prompt attention to this matter is

      17    appreciated.

      18    Sincerely,

      19    __________________________________
            RICK E. LEVY, RPR
      20
            I do hereby waive my signature:
      21
            ___________________________________
      22    CARTER CONRAD

      23    cc via transcript:       Bryan Paschal, Esq.
                                     Kyle Roche, Esq.
      24    file copy

      25


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